            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                         CRIMINAL NO. 3:06CR415


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
TAMARA VARNADO                            )
                                          )


      THIS MATTER is before the Court on the Defendant’s motions for

extensions of time in which to file briefs supporting her motions for a new

trial and for a judgment of acquittal.

      For the reasons stated in the motions and for cause shown,

      IT IS, THEREFORE, ORDERED that the Defendant’s motions for

extensions of time to file briefs supporting her motions for a new trial and

for a judgment of acquittal are ALLOWED, and she has to and including

February 28, 2008, in which to file such briefs.

      IT IS FURTHER ORDERED that the Government has 30 days after

service of Defendants’ briefs in which to file response to the pending

motions.




     Case 3:06-cr-00415-MOC     Document 154   Filed 01/29/08   Page 1 of 2
                               2
                               Signed: January 28, 2008




Case 3:06-cr-00415-MOC   Document 154    Filed 01/29/08   Page 2 of 2
